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                                          UNITED STATES PUBLIC LAWS
                                           101st Congress - Second Session
                                            Convening January 23, 1990

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                               Additions and Deletions are not identified in this document.
                              For Legislative History of Act, see LH database or Report for
                             this Public Law in U.S.C.C. & A.N. Legislative History section.

                                                PL 101-380 (HR 1465)
                                                   August 18, 1990
                                            OIL POLLUTION ACT OF 1990

AN ACT to establish limitations on liability for damages resulting from oil pollution, to establish a fund for the
payment of compensation for such damages, and for other purposes.

                       Be it enacted by the Senate and House of Representatives of the United States
                                             of America in Congress assembled,

                                             << 33 USCA § 2701 NOTE >>

SECTION 1. SHORT TITLE.

This Act may be cited as the "Oil Pollution Act of 1990".

SEC. 2. TABLE OF CONTENTS.

The contents of this Act are as follows:

                           TITLE I--OIL POLLUTION LIABILITY AND COMPENSATION
Sec. 1001. Definitions.

Sec. 1002. Elements of liability.

Sec. 1003. Defenses to liability.

Sec. 1004. Limits on liability.

Sec. 1005. Interest.

Sec. 1006. Natural resources.

Sec. 1007. Recovery by foreign claimants.




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Sec. 1008. Recovery by responsible party.

Sec. 1009. Contribution.

Sec. 1010. Indemnification agreements.

Sec. 1011. Consultation on removal actions.

Sec. 1012. Uses of the Fund.

Sec. 1013. Claims procedure.

Sec. 1014. Designation of source and advertisement.

Sec. 1015. Subrogation.

Sec. 1016. Financial responsibility.

Sec. 1017. Litigation, jurisdiction, and venue.

Sec. 1018. Relationship to other law.

Sec. 1019. State financial responsibility.

Sec. 1020. Application.

                                   TITLE II--CONFORMING AMENDMENTS
Sec. 2001. Intervention on the High Seas Act.

Sec. 2002. Federal Water Pollution Control Act.

Sec. 2003. Deepwater Port Act.

Sec. 2004. Outer Continental Shelf Lands Act Amendments of 1978.

              TITLE III--INTERNATIONAL OIL POLLUTION PREVENTION AND REMOVAL
Sec. 3001. Sense of Congress regarding participation in international regime.

Sec. 3002. United States-Canada Great Lakes oil spill cooperation.

Sec. 3003. United States-Canada Lake Champlain oil spill cooperation.

Sec. 3004. International inventory of removal equipment and personnel.

Sec. 3005. Negotiations with Canada concerning tug escorts in Puget Sound.




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SEC. 1019. STATE FINANCIAL RESPONSIBILITY.

 A State may enforce, on the navigable waters of the State, the requirements for evidence of financial responsibility
under section 1016.

                 << 33 USCA §§ 2701 NOTE, 2702 nt, 2703 nt, 2704 nt, 2705 nt, 2706 nt, 2707 nt,
                    2708 nt, 2709 nt, 2710 nt, 2711 nt, 2712 nt, 2713 nt, 2714 nt, 2715 nt, 2716
                                     nt, 2716a nt, 2717 nt, 2718 nt, 2719 nt >>

SEC. 1020. APPLICATION.

This Act shall apply to an incident occurring after the date of the enactment of this Act.

                                    TITLE II--CONFORMING AMENDMENTS

                                               << 33 USCA § 1486 >>

SEC. 2001. INTERVENTION ON THE HIGH SEAS ACT.

Section 17 of the Intervention on the High Seas Act (33 .S.C. 1486) is amended to read as follows:

 "SEC. 17. The Oil Spill Liability Trust Fund shall be available to the Secretary for actions taken under sections 5
and 7 of this Act.".

*507 SEC. 2002. FEDERAL WATER POLLUTION CONTROL ACT.

                                            << 33 USCA § 1321 NOTE >>

(a) APPLICATION.--Subsections (f), (g), (h), and (i) of section 311 of the Federal Water Pollution Control Act (33
U.S.C. 1321) shall not apply with respect to any incident for which liability is established under section 1002 of this
Act.

 (b) CONFORMING AMENDMENTS.--Section 311 of the Federal Water Pollution Control Act (33 U.S.C. 1321)
is amended as follows:

                                               << 33 USCA § 1321 >>

(1) Subsection (i) is amended by striking "(1)" after "(i)" and by striking paragraphs (2) and (3).

(2) Subsection (k) is repealed.

                                            << 33 USCA § 1321 NOTE >>

Any amounts remaining in the revolving fund established under that subsection shall be deposited in the Fund. The
Fund shall assume all liability incurred by the revolving fund established under that subsection.

                                               << 33 USCA § 1321 >>




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